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              IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION


 UNITED STATES OF AMERICA                             *
                                                      *


         V.                                           *                CR 109-169-03
                                                      ■k


 JEFFREY       L.   BOYD                              *




                                               ORDER




         Before       the    Court        in    the        captioned     case      is    Defendant

 Jeffrey L. Boyd's request to terminate his term of supervised

 release.^          On August 10,          2010, Boyd pled guilty to one count

 of     conspiracy          to    distribute               and    possess      with     intent    to

 distribute         over     500    grams       of cocaine           hydrochloride,        over    5

 grams     of       cocaine       base,        and    a      quantity       of   marijuana,       in

 violation of 21 U.S.C.                  § 841(a) (1)            and § 846.      On December 21,

 2010,    Boyd was sentenced to 84 months imprisonment and five

 years of supervised release.                              He was also ordered to pay a

 $100     special       assessment             and     a     $3000     fine.       The    term    of

 imprisonment         was        later    reduced          to     68 months pursuant        to    18

 U.S.C.       § 3582(c) (2) .

         Boyd was released from the Bureau of Prisons on October

 30, 2015 and commenced supervision in this district.                                     Boyd has

 completed nearly 30 months of supervision with no issues of

 noncompliance.             Boyd has maintained employment and a stable




              The Government has filed no opposition or response
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 residence during the period of supervision.              He has paid his

 criminal monetary penalties and he has tested negative on all

 drug     tests    administered.   In     light   of    Boyd's   favorable

 adjustment to supervision, the United States Probation Office

 does not oppose early termination.

        Upon the foregoing and in consideration of the factors

 set forth in 18 U.S.C. § 3553(a), IT IS ORDERED that Boyd's

 motion    (doc.   449) is GRANTED.        Jeffrey L. Boyd is hereby

 discharged from his term of supervised release upon entry of

 this Order.       The Clerk is directed to send a copy of this

 Order to Mr. Baylan Thomas of the United States Probation

 Office in Augusta, Georgia.

        ORDER ENTERED     at   Augusta,    Georgia,     this       day   of

 April, 2018.




                                          J. RANDAL HALL,'' CHIEF JUDGE
                                          UNITED STATES DISTRICT COURT
                                          mriffiRN     DISTRICT OF GEORGIA
